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                               IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF PUERTO RICO


         IN RE                                                BANKRUPTCY 18-07310 BKT
         LUIS J. VAZQUEZ URQUIA                               CHAPTER 12
         SSN xxx-xx-4006

         Debtor
         MIDFIRST BANK
         Movant
         vs.
         LUIS J. VAZQUEZ URQUIA
         Respondent
         ROBERTO ROMAN VALENTIN
         Chapter 7 Trustee



          MOVANT MIDFIRST BANK & DEBTOR HAVE AGREED TO A MODIFICATION OF
                    STAY TO INITIATE MODIFICATION OF MORTGAGE

        TO THE HONORABLE COURT:
               COMES NOW debtor through his new legal representation respectfully prays and requests
       relief as follows:
               1. Debtor agrees to the modification of the §362 automatic stay in order to be able to
                   initiate a modification of his mortgage.
               2. Midfirst Bank and Debtor have agreed to a modification of the automatic stay to these
                   effects exclusively.
               3. Counsel for Midfirst has authorized debtor’s counsel to move for the accepted and
                   agreed modification of the stay and thereby avoid the hearing scheduled for December
                   17, 2019 before this Court.
               4. Under the circumstances Debtor requests this Court to enter an Order modifying the
                   §362 automatic stay to the only effects of initiating the modification process in hopes
                   that the admitted default can be cured through modification.
       WHEREFORE, debtor requests, as per agreement by the parties:

                  a) That the §362 automatic stay be modified to the only effects of initiating and
                      concluding the modification of the mortgage;
                  b) Entry of an Order referring this case to mediation/modification;
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               In Caguas, Puerto Rico, this November 27, 2019

                                                         NOTICE
               Within fourteen (14) days after service as evidenced by the certification, and an additional
       three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
       whom this paper has been served, or any other party to the action who objects to the relief sought
       herein, shall serve and file an objection or other appropriate response to this paper with the Clerk’s
       office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or other
       response is filed within the time allowed herein, the paper will be deemed unopposed and may be
       granted unless: (I) the requested relief is forbidden by law; (ii) the requested relief is against public
       policy; or (iii) in the opinion of the Court, the interest of justice requires other
               CERTIFICATE OF SERVICE: I hereby certify that I electronically filed the foregoing
       with the Clerk of the Court on this same date using the CM/ECF System which will send
       notification of such filing to all registered parties, and to the C7 Trustee.
           DATED: November 27, 2019



                                                         s/ L.A.   Morales
                                                          LYSSETTE MORALES VIDAL
                                                          USDC PR #121100

                                                          L.A. MORALES & ASSOCIATES P.S.C. URB
                                                          URB VILLA BLANCA
                                                          CAGUAS, PUERTO RICO 00725-1908
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